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  9       Signature Page]
 10
                            UNITED STATES DISTRICT COURT
 11                        CENTRAL DISTRICT OF CALIFORNIA
 12                              WESTERN DIVISION
 13       KELLIE BLACK, Individually and          Case No. 2:21-cv-08892-GW-PD
 14       on Behalf of All Others Similarly
          Situated,                               CLASS ACTION
 15
 16                         Plaintiff,            MEMORANDUM OF POINTS AND
                                                  AUTHORITIES IN SUPPORT OF THE
 17             vs.                               MOTION OF OKLAHOMA
 18                                               FIREFIGHTERS PENSION AND
          SNAP INC., EVAN SPIEGEL,                RETIREMENT SYSTEM FOR
 19       DEREK ANDERSEN, JEREMI                  CONSOLIDATION, APPOINTMENT
 20       GORMAN, and REBECCA                     AS LEAD PLAINTIFF, AND
          MORROW,                                 APPROVAL OF SELECTION OF
 21                                               LEAD COUNSEL
 22                         Defendants.
                                                  DATE: February 7, 2022
 23                                               TIME: 8:30 a.m.
 24                                               COURTROOM: 9D – First Street
                                                  Courthouse
 25                                               JUDGE: Hon. George H. Wu
 26
 27
 28       [Caption continued on following page]
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                                                         LEAD PL., & APPROVAL OF SELECTION OF LEAD COUNSEL
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  1    JIM BUSCAGLIA, and SYNDI            Case No. 2:22-cv-00175
  2    BUSCAGLIA, Individually and on
       Behalf of All Others Similarly
  3    Situated,
  4
                        Plaintiff,
  5
  6          vs.
  7    SNAP INC., EVAN SPIEGEL,
  8    DEREK ANDERSEN, JEREMI
       GORMAN, and REBECCA
  9    MORROW,
 10
                        Defendants.
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  1         Oklahoma Firefighters Pension and Retirement System (“Oklahoma
  2   Firefighters”) respectfully submits this memorandum of points and authorities
  3   pursuant to Section 21D(a)(3)(B) of the Private Securities Litigation Reform Act of
  4   1995 (the “PSLRA”), in support of its Motion for entry of an order: (1) consolidating
  5   the above-captioned, related actions; (2) appointing Oklahoma Firefighters as Lead
  6   Plaintiff for a class of persons or entities who purchased or otherwise acquired
  7   publicly traded securities and/or sold put options of Snap Inc. (“Snap” or the
  8   “Company”) between July 22, 2020 and October 21, 2021, inclusive (the “Class
  9   Period”); and (3) approving Oklahoma Firefighters’ selection of Saxena White P.A.
 10   (“Saxena White”) to serve as Lead Counsel for the Class.
 11   I.    PRELIMINARY STATEMENT
 12         Oklahoma Firefighters—a sophisticated institutional investor that oversees
 13   over $3 billion in assets and that has significant experience serving as a lead
 14   plaintiff—respectfully submits that it should be appointed Lead Plaintiff on behalf of
 15   purchasers and acquirers of Snap securities and/or sellers of Snap put options during
 16   the Class Period (the “Class”). Oklahoma Firefighters satisfies all the prerequisites
 17   for appointment as Lead Plaintiff.      As detailed herein, Oklahoma Firefighters
 18   sustained a significant loss of more than $1.2 million on a last-in, first-out (“LIFO”)
 19   basis in connection with its investments in Snap common stock during the Class
 20   Period.1 In addition, Oklahoma Firefighters purchased 81,247 shares and 77,973 net
 21   shares of Snap common stock, and expended more than $5.2 million in net funds, on
 22   its Class Period transactions in Snap stock. Accordingly, Oklahoma Firefighters has
 23   a powerful economic interest in directing the litigation on behalf of the Class and
 24   1
        Oklahoma Firefighters’ transactions in Snap securities are set forth in the
 25   certification attached as Exhibit A to the Declaration of David R. Kaplan in Support
 26   of the Motion for Consolidation, Appointment as Lead Plaintiff, and Approval of
      Selection of Lead Counsel (“Kaplan Decl.”) filed herewith. In addition, a chart
 27   reflecting the calculation of Oklahoma Firefighters’ financial loss on its
 28   investments in Snap securities during the Class Period is included as Exhibit B to
      the Kaplan Decl.
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  1   recovering losses attributable to Defendants’ violations of the federal securities
  2   laws—an interest believed to be greater than that of any other qualified movant.
  3            In addition to asserting the largest financial interest, Oklahoma Firefighters
  4   readily satisfies the relevant requirements of Rule 23 of the Federal Rules of Civil
  5   Procedure (“Rule 23”) because its claims are typical of those of absent Class
  6   members, and because it will fairly and adequately represent the interests of the
  7   Class. Indeed, the PSLRA’s legislative history shows that Oklahoma Firefighters is
  8   precisely the type of sophisticated institutional investor that Congress intended to
  9   empower to lead securities class actions. In short, Oklahoma Firefighters is the “most
 10   adequate plaintiff” and should be appointed Lead Plaintiff.
 11            Oklahoma Firefighters also respectfully requests that the Court approve its
 12   selection of Lead Counsel for the Class. Oklahoma Firefighters’ choice for Lead
 13   Counsel, Saxena White, has substantial experience in successfully prosecuting
 14   securities class actions, including within this District, and is well qualified to
 15   prosecute this case.
 16   II.      STATEMENT OF FACTS2
 17            Currently pending in this District are two related securities class actions
 18   (together, the “Action”) brought on behalf of the Class. The Action alleges violations
 19   of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange
 20   Act”) as amended by the PSLRA and U.S. Securities and Exchange Commission
 21   (“SEC”) Rule 10b-5, 17 C.F.R. § 240.10b-5, against Snap, its Co-Founder and Chief
 22   Executive Officer, Evan Spiegel, its Chief Financial Officer, Derek Andersen, its
 23   Chief Business Officer, Jeremi Gorman, and its Chief Accounting Officer, Rebecca
 24   Morrow (collectively “Defendants”).
 25            Snap is Delaware corporation with its headquarters in this District, in Santa
 26   Monica, California. ¶ 8. The Company’s common stock trades on the New York
 27   Stock Exchange under the ticker symbol “SNAP.” Id. Snap, which calls itself “a
 28   2
          All paragraph references refer to the complaint in the first-filed Black action.
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  1   camera company,” is known for the social media application Snapchat and associated
  2   products and advertisements. ¶ 7. The Company derives the vast majority of its
  3   revenues from its advertising products on Snapchat. ¶ 21. As part of an ongoing
  4   privacy push, in June 2020, Apple Inc. (“Apple”) publicly announced new data
  5   privacy features for its iOS mobile operating system used on iPhones that affected
  6   the tracking of user data—a key metric for Snap’s advertising business. ¶ 18. After
  7   several delays, in April 2021, Apple released the new data privacy features for iOS.
  8   Id.
  9         The Action alleges that, during the Class Period, Defendants made false and
 10   misleading statements and/or failed to disclose that: (1) Apple’s privacy changes
 11   would have, and were having, a material impact on the Company’s advertising
 12   business; (2) Snap overstated its ability to transition its advertising with Apple’s
 13   privacy changes; (3) Snap knew of, but downplayed, the risks of the impact that
 14   Apple’s privacy changes had on the Company’s advertising business; (4) Snap
 15   overstated its commitment to privacy; and (5) as a result of the foregoing,
 16   Defendants’ public statements and statements to journalists were materially false
 17   and/or misleading at all relevant times. ¶ 29.
 18         According to the Action, the truth emerged on October 22, 2021, when Snap
 19   filed its financial results for the third quarter of 2021 with the SEC, which included
 20   weaker-than-expected revenue and weaker-than-expected guidance for the fourth
 21   quarter. ¶ 30. The Company attributed the disappointing outlook to declines in
 22   Snap’s advertising business, including due to Apple’s privacy changes. Id. The filing
 23   acknowledged that Apple’s changes:
 24                have adversely affected our targeting, measurement, and
 25                optimization capabilities, and in turn affected our ability
                   to measure the effectiveness of advertisements on our
 26                services. This has resulted in, and in the future is likely to
 27                continue to result in, reduced demand and pricing for our
                   advertising products and could seriously harm our
 28                business. Id.
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  1          In response to these revelations, Snap’s stock price fell $19.97 per share, or 26
  2   percent, to close at $55.41 per share on October 22, 2021. ¶ 32. Defendants’ material
  3   misrepresentations and omissions and the revelations thereof have caused the
  4   members of the Class to incur substantial damages.
  5   III.   ARGUMENT
  6          A.    THE RELATED ACTIONS SHOULD BE CONSOLIDATED
  7          Two related securities class actions have been filed in this Court against the
  8   Defendants. The PSLRA provides that “[i]f more than one action on behalf of a class
  9   asserting substantially the same claim or claims arising under this chapter has been
 10   filed,” the Court shall not make the determination of the most adequate plaintiff until
 11   “after the decision on the motion to consolidate is rendered.” 15 U.S.C. § 78u-
 12   4(a)(3)(B)(ii). Thereafter, the Court “shall appoint the most adequate plaintiff for the
 13   consolidated actions.” Id. Rule 42(a) of the Federal Rules of Civil Procedure (“Rule
 14   42(a)”) allows the Court to consolidate actions that involve common questions of law
 15   or fact. See Fed. R. Civ. P. 42(a); see also Vancouver Alumni Asset Holdings, Inc. v.
 16   Daimler AG, No. 16-cv-02942 SJO (KSx), 2016 WL 10646304, at *2 (C.D. Cal. July
 17   20, 2016) (“Consolidation is common in federal securities class actions.”).
 18          Here, there are at least two related actions pending in this District against
 19   Defendants: Black v. Snap Inc., et al., No. 2:21-cv-08892 (C.D. Cal. Nov. 11, 2021)
 20   and Buscaglia v. Snap Inc., et al., No. 2:22-cv-00175 (C.D. Cal. Jan. 7, 2022). These
 21   actions present substantially similar factual and legal issues because they each allege
 22   claims under Sections 10(b) and 20(a) of the Exchange Act, allege identical Class
 23   Periods, and arise out of substantially similar misstatements regarding Snap’s
 24   business operations and the impact Apple’s data privacy changes would have on the
 25   Company’s business performance. See Daimler, 2016 WL 10646304, at *2
 26   (consolidating actions that “involve common questions of law and fact,” the “same
 27   claims against Defendants,” and the same class period). Accordingly, consolidation
 28
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   1   is appropriate under Rule 42(a) and the PSLRA, and Oklahoma Firefighters
   2   respectfully requests that these actions be consolidated.
   3          B.      OKLAHOMA FIREFIGHTERS SHOULD BE
   4                  APPOINTED LEAD PLAINTIFF

   5                  1.   The PSLRA Standard for Appointing Lead Plaintiff
   6          The PSLRA establishes a straightforward, sequential procedure for identifying
   7   the lead plaintiff for “each private action arising under the [Exchange Act] that is
   8   brought as a plaintiff class action pursuant to the Federal Rules of Civil Procedure.”
   9   In re Cavanaugh, 306 F.3d 726, 729-30 (9th Cir. 2002) (citing 15 U.S.C. § 78u-
 10    4(a)(1)). “The first step consists of publicizing the pendency of the action[.]” Id. at
 11    729. Within 20 days of filing the initial action, the plaintiff must publish a notice to
 12    the class informing class members of their right to file a motion for appointment as
 13    lead plaintiff. 15 U.S.C. § 78u-4(a)(3)(A)(i).
 14           Second, the PSLRA directs the Court to consider any motions by plaintiffs or
 15    purported class members to serve as Lead Plaintiff in response to any such notice.
 16    Under this section, the Court “shall” appoint the “most adequate plaintiff,” and is to
 17    presume that such plaintiff is the “person or group of persons” that:
 18           (aa) has either filed the complaint or made a motion in response to a
 19    notice . . .
 20           (bb) in the determination of the court, has the largest financial interest in the
 21    relief sought by the class; and
 22           (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of
 23    Civil Procedure.
 24    15 U.S.C. § 78u-4(a)(3)(B)(iii); Cavanaugh, 306 F.3d at 730.
 25           Under the sequential procedure set forth by the Ninth Circuit in Cavanaugh,
 26    once the court has identified the “most adequate plaintiff,” the presumption may only
 27    be rebutted by proof that the most adequate plaintiff “will not fairly and adequately
 28    protect the interests of the class” or “is subject to unique defenses that render such

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   1   plaintiff incapable of adequately representing the class.” Id. at 730, 732; see also 15
   2   U.S.C. § 78u- 4(a)(3)(B)(iii)(II).
   3                2.     Oklahoma Firefighters Is the Most Adequate Plaintiff
   4         Oklahoma Firefighters respectfully submits that it is the presumptively “most
   5   adequate plaintiff” because it has complied with the PSLRA’s procedural
   6   requirements, holds the largest financial interest of any movant, and satisfies Rule
   7   23’s typicality and adequacy requirements.           In addition, as a sophisticated
   8   institutional investor with a substantial financial stake in this action, Oklahoma
   9   Firefighters is the paradigmatic lead plaintiff that Congress envisioned when enacting
 10    the PSLRA.
 11
                           a.    Oklahoma Firefighters Has Satisfied
 12                              the PSLRA’s Procedural Requirements
 13          Oklahoma Firefighters has filed this motion to serve as Lead Plaintiff in a
 14    timely manner. Pursuant to the PSLRA, the plaintiff who filed the initial complaint
 15    in the Action caused a notice regarding the pending nature of this case to be published
 16    on Business Wire, a widely circulated, national business-oriented news wire service,
 17    on November 11, 2021. See Notice, Kaplan Decl. Exhibit C. Thus, pursuant to the
 18    PSLRA, any member of the proposed Class may apply for appointment as Lead
 19    Plaintiff within sixty days of the publication of the notice, i.e., on or before January
 20    10, 2022. See 15 U.S.C. § 78 3(A)(i)(II). Oklahoma Firefighters has filed its motion
 21    within the required time frame.
 22
                           b.    Oklahoma Firefighters Has the Largest
 23                              Financial Interest in the Relief Sought by the Class
 24          The PSLRA requires a court to adopt a presumption that “the most adequate
 25    plaintiff” is the movant that has the largest financial interest in the relief sought by
 26    the class so long as that movant meets the requirements of Rule 23. 15 U.S.C. § 78u-
 27    4(a)(3)(B)(iii)(I); see also Cavanaugh, 306 F.3d at 729-30 (“[T]he presumptively
 28    most adequate plaintiff – and hence the presumptive lead plaintiff – [is] the one who
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   1   has the largest financial interest in the relief sought by the class and otherwise
   2   satisfies the requirements of Rule 23.”).
   3         Here, during the Class Period, Oklahoma Firefighters (1) purchased 81,247
   4   shares of Snap common stock; (2) purchased 77,973 net shares of Snap common
   5   stock; (3) expended $5,257,097 in net funds investing in Snap stock; and (4) suffered
   6   a LIFO loss of $1,229,107 in connection with its purchases of Snap shares. See
   7   Kaplan Decl., Ex. B; see also Barry v. Colony NorthStar, Inc., No. 18-cv-2888, ECF
   8   No. 43, slip op. at 4 (C.D. Cal. July 16, 2018) (Wu, J.), Kaplan Decl., Ex. D (setting
   9   forth the four factors that courts in this District and throughout the nation consider in
 10    determining a lead plaintiff movant’s financial interest). Oklahoma Firefighters is
 11    unaware of any other movant with a greater financial interest in the outcome of the
 12    Action. Accordingly, Oklahoma Firefighters has the largest financial interest of any
 13    qualified movant seeking appointment as Lead Plaintiff and is the presumptive “most
 14    adequate plaintiff.” 15 U.S.C. § 78u-4(a)(3)(B)(iii); Cavanaugh, 306 F.3d at 729-
 15    32.
 16
                           c.     Oklahoma Firefighters Satisfies
 17                               Rule 23’s Typicality and Adequacy Requirements
 18          In addition to possessing the largest financial interest in the litigation,
 19    Oklahoma Firefighters also satisfies the applicable requirements of Rule 23. 15
 20    U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc). Rule 23(a) provides that a party may serve as a
 21    class representative if: “(1) the class is so numerous that joinder of all members is
 22    impracticable; (2) there are questions of law or fact common to the class; (3) the
 23    claims or defenses of the representative parties are typical of the claims or defenses
 24    of the class; and (4) the representative parties will fairly and adequately protect the
 25    interests of the class.” Fed. R. Civ. P. 23. However, at the lead plaintiff selection
 26    stage, movants need only make a “prima facie showing” that they satisfy Rule 23’s
 27    typicality and adequacy prongs. Kauffman v. Natural Health Trends Corp., No. 19-
 28    163-MWF (JPRx), 2019 WL 12361300, at *2 (C.D. Cal. May 3, 2019).

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   1                             i.    Oklahoma Firefighters’ Claims Are
   2                                   Typical of Those of the Class

   3         The typicality requirement of Rule 23(a) is satisfied when a proposed class
   4   representative’s claims “arise[] from the same event or course of conduct that gives
   5   rise to claims of other class members and the claims are based on the same legal
   6   theory.” Daimler AG, 2016 WL 10646304, at *3 (citation omitted). Typicality is not
   7   an exceedingly exacting test because “under [Rule 23’s] permissive standards,
   8   representative claims are typical if they are reasonably coextensive with those of
   9   absent class members; they need not be substantially identical.” Id. (quotations and
 10    citation omitted); see also Colony NorthStar, slip op. at 5 (same).
 11          Here, Oklahoma Firefighters satisfies the typicality requirement. Like all other
 12    Class members, Oklahoma Firefighters: (1) purchased Snap securities during the
 13    Class Period; (2) at prices artificially inflated by Defendants’ materially false and
 14    misleading statements and/or omissions; and (3) suffered damages when corrective
 15    disclosures removed the inflation caused by Defendants’ conduct, causing the price
 16    of Snap’s securities to fall. See id. (discussing the typicality requirement). These
 17    shared claims, which are based on the same legal theory and arise from the same
 18    events and course of conduct as the Class’s claims, satisfy Rule 23(a)(3)’s typicality
 19    requirement. See Natural Health Trends, 2019 WL 12361300, at *2.
 20
                                 ii.   Oklahoma Firefighters Will Fairly and
 21                                    Adequately Protect the Interests of the Class
 22          The adequacy of representation requirement of Rule 23(a)(4) is satisfied when
 23    a representative party establishes that it will “fairly and adequately protect the
 24    interests of the class.” Fed. R. Civ. P. 23(a)(4). Representation “is ‘adequate’ when
 25    the movant and its counsel (1) do not “have any conflicts of interest with other class
 26    members” and (2) “will prosecute the action vigorously on behalf of the class.”
 27    Daimler, 2016 WL 10646304, at *3.
 28
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   1          Here, Oklahoma Firefighters’ interests are aligned with those of the other Class
   2   members and are not antagonistic in any way. Oklahoma Firefighters incurred
   3   substantial financial harm due to Defendants’ misrepresentations and omissions
   4   during the Class Period and, therefore, has a sufficient interest in the outcome of the
   5   Action to ensure vigorous prosecution of the litigation. There are no facts to suggest
   6   any actual or potential conflict of interest between Oklahoma Firefighters and absent
   7   Class members. Moreover, as an institutional investor with a substantial financial
   8   interest in the litigation, Oklahoma Firefighters has the resources, experience, and
   9   incentive to vigorously represent the Class and prosecute this action against
 10    Defendants.
 11           In addition, Oklahoma Firefighters has further demonstrated its adequacy
 12    through its selection of Saxena White to serve as Lead Counsel for the Class. As
 13    discussed below, Saxena White is highly qualified and experienced in the area of
 14    securities class action litigation and has repeatedly demonstrated its ability to
 15    effectively prosecute complex securities class actions and other forms of shareholder
 16    litigation.
 17           Thus, in addition to having the largest financial interest, Oklahoma Firefighters
 18    also satisfies the typicality and adequacy requirements of Rule 23.
 19
                           d.     Oklahoma Firefighters Is Precisely the Type of
 20                               Lead Plaintiff Envisioned by the PSLRA
 21           In addition to satisfying the PSLRA’s lead plaintiff provisions and the
 22    requirements of Rule 23, Oklahoma Firefighters is the paradigmatic lead plaintiff
 23    envisioned by Congress in its enactment of the PSLRA—a sophisticated institutional
 24    investor with a substantial financial interest in the litigation and the resources,
 25    experience, and incentive to vigorously represent the Class. See H.R. S. Rep. No.
 26    104-98, at 11 (1995), reprinted in 1995 U.S.C.C.A.N. 679, 690 (“The committee
 27    intends to increase the likelihood that institutional investors will serve as lead
 28    plaintiffs . . . .”); Conf. Rep. No. 104-369, at 34 (1995), reprinted in 1995

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   1   U.S.C.C.A.N. 730, 733 (1995) (explaining that “increasing the role of institutional
   2   investors in class action will ultimately benefit shareholders and assist courts by
   3   improving the quality of representation in securities class actions”).
   4         Created in 1980, Oklahoma Firefighters provides pension and retirement
   5   benefits to more than 26,000 current and former firefighters of Oklahoma and has
   6   more than $3 billion in assets under management. Oklahoma Firefighters has
   7   sufficient resources and incentive to vigorously prosecute the Action and supervise
   8   Class counsel. Oklahoma Firefighters understands the fiduciary duties of a lead
   9   plaintiff, is willing to oversee the vigorous prosecution of the Action, and has pledged
 10    to “provide testimony at deposition and trial, if necessary.” See Certification, Kaplan
 11    Decl. Ex. A. Oklahoma Firefighters’ understanding of the duties of a lead plaintiff
 12    is informed by its significant experience successfully helming securities class actions
 13    on behalf of investor classes—experience that will benefit the Class. See, e.g.,
 14    Minneapolis Firefighters’ Relief Ass’n v. Medtronic, Inc., No. 08-cv-06324, ECF No.
 15    344 (D. Minn. Nov. 8, 2012) (granting final approval of $85 million recovery); Avila
 16    v. LifeLock, Inc., No: 15-cv-01398, ECF No. 150 (D. Ariz. July 22, 2020) (granting
 17    final approval of $20 million recovery); In re Tower Group Int’l, Ltd. Sec. Litig., No.
 18    13-cv-05852, ECF No. 179 (S.D.N.Y. Nov. 23, 2015) (granting final approval of
 19    $20.5 million recovery). Thus, as demonstrated herein, Oklahoma Firefighters is the
 20    personification of the lead plaintiff contemplated by the PSLRA.
 21
             C.     THE COURT SHOULD APPROVE OKLAHOMA
 22                 FIREFIGHTERS’ SELECTION OF LEAD COUNSEL
 23          The PSLRA vests authority in the lead plaintiff to select and retain counsel to
 24    represent the class, subject to court approval.        15 U.S.C. § 78u-4(a)(3)(B)(v);
 25    Cavanaugh, 306 F.3d at 732 n. 11. The court should not disturb lead plaintiff’s
 26    choice of counsel unless it is necessary to “protect the interests of the class.” 15
 27    U.S.C. § 78u-4(a)(3)(B)(iii)(II)(aa); see In re Cohen, 586 F.3d 703, 712 (9th Cir.
 28
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   1   2009) (“[I]f the lead plaintiff has made a reasonable choice of counsel, the district
   2   court should generally defer to that choice.”).
   3         Here, Oklahoma Firefighters has selected Saxena White as Lead Counsel to
   4   represent the Class. As set forth in its firm resume, Saxena White has extensive
   5   experience prosecuting complex litigation on behalf of aggrieved shareholders. See
   6   Kaplan Decl., Ex E. Indeed, Saxena White has achieved substantial recoveries on
   7   behalf of investor classes when serving as lead or co-lead counsel in major securities
   8   class actions nationwide.
   9         For example, Saxena White, acting as co-lead counsel, secured a $210 million
 10    recovery for the investor class in In re Wilmington Trust Securities Litigation, No.
 11    10-cv-00990-ER (D. Del.), which represented the second-largest securities class
 12    action recovery in Delaware history. Saxena White’s track record in securities
 13    litigation also includes: the $135 million recovery for the investor class in Peace
 14    Officers Annuity and Benefit Fund of Georgia v. DaVita Inc., No. 1:17-cv-00304-
 15    WJM (D. Colo.); the $73 million recovery for the investor class in In re Rayonier
 16    Inc. Securities Litigation, No. 3:14-cv-1395-TJCJBT (M.D. Fla.); the $53 million
 17    recovery for the investor class in Central Laborers’ Pension Fund v. SIRVA, Inc.,
 18    No. 04 C 7644 (N.D. Ill.); the $50 million recovery for the investor class in In re HD
 19    Supply Holdings Inc. Securities Litigation, No. 1:17-CV-02587-ELR (N.D. Ga.); the
 20    $28 million recovery for the investor class in Milbeck v. TrueCar, Inc., No. 2:18-cv-
 21    02612-AGR (C.D. Cal.); and the $25 million recovery for the investor class in
 22    Plymouth County Retirement System v. GTT Communications, Inc., No. 1:19-cv-
 23    00982-CMH (E.D. Va.).
 24          By approving Oklahoma Firefighters’ choice of Lead Counsel, the Court also
 25    will advance the important goal of increasing diversity among class counsel, so that
 26    the attorneys leading the case “reflect the diversity of the proposed national class.”
 27    In re Robinhood Outage Litig., No. 20-cv-01626, 2020 WL 7330596, at *2 (N.D.
 28    Cal. July 14, 2020); see also In re Gildan Activewear Inc. Sec. Litig., No. 08-cv-
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   1   050480, 2010 U.S. Dist. LEXIS 140619, at *3 (S.D.N.Y. Sept. 20, 2010) (noting that
   2   because “proposed class includes thousands of participants, both male and female,
   3   arguably from diverse backgrounds . . . it is therefore important to all concerned that
   4   there is evidence of diversity, in terms of race and gender, in the class counsel I
   5   appoint”). As a federally certified woman- and minority-owned firm specializing in
   6   representing institutional investors as plaintiffs in securities litigation, Saxena White
   7   is committed to diversity. See Firm Resume, Kaplan Decl. Ex. E. For example,
   8   Saxena White was selected by the Chief Judge of the Northern District of Ohio as
   9   Co-Lead Counsel in an important shareholder derivative action involving a
 10    corruption and bribery scheme, not only for its “impressive” and “considerable track
 11    record[] of successfully prosecuting shareholder derivative actions,” but also for its
 12    “diverse team” that “best reflects the plaintiffs’ diversity and is best suited to act on
 13    their behalf.” Bloom v. Anderson (FirstEnergy Corp. Derivative Litig.), No. 2:20-
 14    CV-04534, 2020 WL 6710429, at *9 (S.D. Ohio Nov. 16, 2020).
 15          Thus, the Court may be assured that by granting this Motion, the Class will
 16    receive the highest caliber of legal representation. Accordingly, the Court should
 17    approve Oklahoma Firefighters’ selection of Saxena White to serve as Lead Counsel
 18    for the Class.
 19    IV.   CONCLUSION
 20          For the foregoing reasons, Oklahoma Firefighters respectfully requests that the
 21    Court: (1) consolidate the above-captioned, related actions; (2) appoint Oklahoma
 22    Firefighters as Lead Plaintiff; and (3) approve its selection of Saxena White to serve
 23    as Lead Counsel for the Class.
 24    Dated: January 10, 2022                 Respectfully submitted,
 25
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                                                  MPA ISO MOT. OF OKLA. FIREFIGHTERS FOR CONSOL., APP’T AS
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   1     PROOF OF SERVICE VIA ELECTRONIC POSTING PURSUANT TO
   2       CENTRAL DISTRICT OF CALIFORNIA LOCAL RULES AND
                      ECF GENERAL ORDER NO. 10-07
   3
   4         I HEREBY CERTIFY that, on January 10, 2022, I electronically filed the
   5   foregoing with the Clerk of Court using the CM/ECF system, which will send a notice
   6   of electronic filing to all registered users. I certify under penalty of perjury under the
   7   laws of the United States of America that the foregoing is true and correct.
   8         Executed on January 10, 2022.
   9
 10                                                    /s/ David R. Kaplan
 11                                                    David R. Kaplan

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